         Case 1:18-cr-00035-DCN Document 13 Filed 03/15/18 Page 1 of 1




       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,                  )
                                            )   CR No. 18-035-S-EJL
               Plaintiff,                   )
                                            )   ORDER TO UNSEAL
 vs.                                        )
                                            )
 CAMERON HIGH,                              )
                                            )
               Defendant.                   )
                                            )



       IT IS HEREBY ORDERED that the Motion to Unseal the Information in the
above matter is GRANTED.




                                                   March 15, 2018




ORDER - 1
